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  UNITED STATES DISTRICT COURT
  DISTRICT OF NEW JERSEY




                              - against -


                                                                                               COMPLAINT

                                                                                        JuryTriat:G'fes D        No


                                                                                                   (check one)




  (In the space above enter the ji1/l 1111111e(s) ofthe defendant(-9. Ifyou
  cannot.fit the names ofall of the de.fe11dants in the .1pace provided,
  please write "see ultaclred" in the space above a11d attach an
  additional sheet of paper with the f11/l list of names. The names
   listed in the above caption m11s/ be identical to those contained in
   Part I. Addresses slrou/d not be included here.)


   I.          Parties in this complaint:


   A           List your name, a<l<lress and telephone number. Do the same for any additional plaintiffs named. Attach
               additional sheets of paper as necessary.



   Plaintiff            Name

                        Street Address

                        County, City

                        State & Zip Code

                        Telephone Number
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  B.       List all defendants. You should state the full name of the defendants, even if that defendant is a government
           agency, an organization, a corporation, or an individual. Include the address where each defendant can be
           served. Make sure that the defendant(s) listed below are identical to those contained in the above caption.
          Attach additional sheets of paper as necessary.


  Defendant No. l                        N ame "2,: t. �Al ·h4'\f... ..\-e.usf ' u� �� 1.J i{ NF)oflC tJ �I
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                                         County, City 5..\- Y �Lt\

                                         State & Zip Cude   fY\�       5S J 01

  Defondant No. 2                        Name Z.AI:;    F•rvf\tvt..'c...\ Cb�f (A:�.A. l.PC. Lt.'j'll +i41f. kulf�
                                         StreetAddress � "t>a\dqf _ Avf                                      Sua.\-t.. .1a0l
                                         County, City _R£.-=:d
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                                                                                      __________     .:: ...
                                         State & Zip Code    �N')"'"
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                                                                                            _    ____                        _




  Defendant No. 3                        Name    F� 5 t:Q.\Jl C. I N '1 LLC­
                                         Street Address q 3q W t...\o(l..+b Av�
                                         County, City Q \.-\ I C.. A 9 Q
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                                         State & ZipCode :I. L           L.OL,4&

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                                                                hi� °BAtJ\(_
   Defendant No. 4                       Name

                                          StreetAddress &:> · 0:J5o � o20Q1 lo
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                                          County, City _._ c:-::
                                                             . tJ
                                                                -'-------------------
                                          State & Zip Code    rvl I   '-\ � 6"0 \


   II.      Basis for Jurisdiction:


   Federal courts are courts oflimited jurisdidion. There are four types of cases that can be heard in fede ral court: l)
   Feili:ral Question - Under 28 U.S.C. § LB I, a case inv olv ing the United States Constitution or federal laws or tre atie s
   is a federal question case; 2) Div er s ity of Citizenship - Under 28 U.S.C. § I D2, a case in which a citizen of one
   state sues a citizen of another state and the amount in damages is more than $75,000 is a diversity of c itizen ship case;
   J) I J.S. Governm ent Plaintiff; and 4) U.S. Govcnunent De fondant.


   A.       What is the hasis for fr<leral court jurisdiction'' (check all that appZv)
           ff Questions
                  cderal
                                                   D
                                                         Divers i ty of Citizenship


           Ou.s.       Gov1.-rnmcnt Plaintiff      ou.s.      Government Defendant




   B.                                                          ,
             If the basis for jurisdiction is federal Qu es tio n what federal Constitutional, statutory or treaty rig.ht is at

            issue '?   __________________________________




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              C.        Ifthe basis for jurisdiction is Diversity ofCitizenship, what is the state ofcitizenship ofeach party?


                        Plaintiff(s)state(s)ofcitizenship     l>tJ \ 4-CE..d         �·±eJ�
                        Defondant(s)state(s)ofcitizenship     U.. "->   \-..fi t.J    s; c(>��tS

              III.      Statement of Claim:


              State as brietly as possible the facts of your case. Describe how each of the defendants named in the caption of this
              complaint is involved in this action, along with the dates and locations of all relevant events. You may wish to
              include further details such as the names ofother persons involved in the events giving rise to your claims. Do not
              cite any cases or statutes. Ifyou intend to allege a number ofrelated claims, number and set forth each claim in a
              separate paragraph. Attach additional sheets ofpaper as necessary.


              A.                                    � C... Co.J.w� Did ��
                        Where did the events giving rise to your claim(s)occur?                    (

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               B.       What date and approximate time did the events giving rise to your claim(s)occur?


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 What
happened
to you?




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 Whod1d
  what?




  Was
 anyone
  else
involved?




Who else
s<rwwhat
happened?




                                                                         - 3-
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  IV.      Injuries:



  If you sustained injuries related to the events alleged above, describe them and state what medical treatment, if any,

  you required and received.   ------




  V.       Relief:



  State what you want the Court to do for you and the amount of monetary compensation, if any, you are seeking, an<l

  the basis for such compensation.

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  I declare under penalty of perjury that the foregoing� true and correct.



  Signed this   5" day of__        ......
                                 -'�       . gJ..c_\>.
                                     ..., �""""  ...._ ., �------''201.h_.



                                                                C.. '2.J\ \.Cl 1\.�'\J�O,J
                                               Signature of Plaintitr

                                               Mailing AddresPN'b a ���\ c�

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                                               Telephone Number     _le=-=C)_9�·-lt--=-=�-S_-..C1..,..8=-0
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                                               Fax Number (ifyou have one)

                                               E-mail Address




  Note:    All plaintiffs named in the caption of the complaint must date and sign the complaint.




                                                    Signahue ofPloinliff   � t a�



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 Sunday, March 6, 2016
 3:50 PM



 introduction


 1.) this action is brought to recover damages and penalties from
 conduct by the defendants in creating and using fraudulent mortgage
 assignments and mortgage assignment and mortgage note
 endorsements.


 2.) through an extensive investigation, one which required particular
 skills, including handwriting analysis, the plaintiff in this case, Mr.
 Craig Anderson, discovered that mortgage documents were regularly
 being used in foreclosures across the county that among other detects
 were backdates, had falsely stated dates of transfer, had fraudulent
 notarizations, had forged signatures, were signed by employees of the
 servicers or document preparers who often falsely claimed to be
 officers of the originating bank and other entities up the chain of
 assignments, and were" ROSO-signed" (i.e. Signed in bulk).


 3.) such fraudulent assignment and notes endorsements formed the
 basis for the submission of at least tens of thousands of false claims in
 the united states.


 4.) when the trustee and custodian banks and servicers discovered
 that the mortgage assignments were missing, they, together with the
 default management and/or mortgage loan documentation
 companies, devised and operated a scheme to replace the missing
 assignments with fraudulent, fabricated assignments.
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 5.) these fraudulent documents usually assignments of the mortgage
 were then filed in the court and filed in the county record that the
 trust was the proper party to foreclose on the mortgage.


 6.) plaintiff claims are brought pursuant to the federal false claims act,
 31 U.S.C. 3729 et seg. And similar provisions in the state and
 municipal false claims act indicated herein.


 7.) plaintiff seeks to recover damages and civil penalties arising from
 the false claims and false statements made by the defendants.


 8.) the fraud carried out by the defendants in this case includes the
 following:


 A.) mortgage assignments with forged signatures of the individuals
 signing on behalf of the grantors, and forged signatures of the
 witnesses and the notaries.


 B.) mortgage assignments with signatures of individuals signing as
 corporate as corporate officers for bank and mortgage companies that
 never employed them.


 C.) mortgage assignments with purported effective dates unrelated to
 the date of any actual or attempted transfer( and in the case of the
 trust, years after the closing date of the trusts).


 D,) mortgagee assignments prepared on behalf of grantors who had
 never themselves acquired ownership of the mortgage and note by a
 valid transfer, including numerous such assignments where the
 grantor was identified as "bogus" assignee for intervening
 assignments and mortgage assignments notarized by notaries who
 never witnessed the signatures that they notarized.
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 E.) the defendants may have used these fraudulent assignments and
 note endorsements because the original loan documents were never
 delivered to the MSB trusts; or because the original loan documents
 were defective or because the original loan documents were delivered
 but subsequently destroyed; or because the servicers used fraudulent
 document production as revenue source; or because of ineptitude
 regardless as any justification or excuse, a multitude of fraudulent
 documents were used in in foreclosure proceeding on the MSB trust
 assets and formed the basis for false claims on mortgages.


 Jurisdiction and venue


 A.) the court has jurisdiction over the subject matter of the action
 pursuant to 28 U.S.C -1331 and 31 U.S.C. and 3732 and supplemental
                      •.




 jurisdiction over the counts related to the state and municipal false
 claims act pursuant to 28 U.S.C   ••   and 1367.


 Mr. Anderson who hired the two foreclosure special who discovered a
 forged mortgage assignment filed in his foreclosure by (ZFC Legal Title
 Trust 1 and US National Bank).


 B.) affixing or submitting false signatures on a mortgage document is
 a violation of federal and state law, and those signatures are without
 authority to complete the transaction, according to a mortgage fraud
 notice prepared jointly by the federal bureau of investigation and the
 mortgage bankers association, mortgage fraud potentially violates at
 least 5 federal criminal statutes.


 Specifically:



     1.     18 U.S.C.. -1028- fraud and related activity in connection
     with identification documents
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            2.       18 U.S.C.-1341- fraud and swindles by mail

            3.       18 U.S.C.-1342- fictitious name or address

            4.       18 U.S.C.-1343- fraud by wire

            5.       18 U.S.C.-1344- bank fraud


        Because the signatures contained on the assignment files in Mr.
        Anderson foreclosure case were fraudulent, in violation of federal and
        state laws


        Defendant paid law firms to create fraudulent documents


        C.) Mr. Anderson further examined assignments perpaired by Fein,
        Such, Kahn & Shepard, pc law firm who also has a 3/4 min video on
        (YOUTUBE) for doing fraudulent documents on mortgages are now
        being used by (ZFC legal title trust 1 and US National Bank in it 's
        default management processes




        Exhibits are as follows:


        1.) ex-a     ( defendant involved in the lawsuit)
        2.) ex-b     (securities and exchange commission)
        3.) ex-c     (mortgage)
        4.) ex-d     (note)
        5.) ex-e     (assignment of mortgage)
        6.) ex-f     (certification of the analyst of Thomas Hargreaves)
        7.) ex-g     ( audit narrative and findings
        8.) ex-h     (summary and conclusion)
        9.) ex-I     (condominium rider)
        10.) ex- j   (fraudulent assignment of mortgage)
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 11.) ex- k (conflict of interest laws In new jersey)
 12.) ex-I   (my 1st assignment of mortgage)
 13.) ex-m ( fraudulent notice of intent to foreclose examined)
 14.) ex-n ( mortgage timeline based upon the noi)
 15.) ex-0 ( attorney certification of diligent)
 16.) ex-p   ( M.E.R.S. member rules)
 17.) ex-q   ( court rule 4:50-1)
